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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   MICHAEL GONIDAKIS, MARY PARKER,
   MARGARET CONDITT, BETH
   VANDERKOOI, LINDA SMITH,
   DELBERT DUDUIT, THOMAS W. KIDD
   JR., DUCIA HAMM,
                                                  Case No. 2:22-cv-00773
          Plaintiffs,

   BRIA BENNETT, REGINA C. ADAMS,  Chief Judge Algenon L. Marbley
   KATHLEEN M. BRINKMAN, MARTHA    Judge Amul R. Thapar
   CLARK, SUSANNE L. DYKE, MERYL   Judge Benjamin J. Beaton
   NEIMAN, HOLLY OYSTER, CONSTANCE
   RUBIN, EVERETT TOTTY,

          Intervenor-Plaintiffs,

   v.

   FRANK LAROSE, in his capacity as Ohio
   Secretary of State,

          Defendant.


                                   NOTICE OF AUTHORITY

         Intervenor-Plaintiffs Bria Bennett, Regina C. Adams, Kathleen M. Brinkman, Martha

  Clark, Susanne L. Dyke, Meryl Neiman, Holly Oyster, Constance Rubin, and Everett Totty (the

  “Bennett Petitioners”) respectfully submit this Notice to inform the Court of the Ohio Supreme

  Court’s order and opinion in League of Women Voters v. Ohio Redistricting Commission, No.

  2021-1193 (Ohio Apr. 14, 2022) (attached as Exhibit A), holding that the Ohio Redistricting

  Commission’s Fourth Plan violates the Ohio Constitution.
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                                       Respectfully submitted,

                                       /s/ Donald J. McTigue

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                                  CERTIFICATE OF SERVICE

          This is to certify a copy of the foregoing was served upon all counsel of record by means

   of the Court’s electronic filing system on this 14th Day of April, 2022.



                                                       /s/ Donald J. McTigue________
                                                       Donald J. McTigue (OH 0022849)
